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   EXHIBIT E
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             PHILADELPHIA POLICE DEPARTMENT                                  DIRECTIVE 5.27



Issued Date: 10-31-01            Effective Date: 10-31-01          Updated Date: 09-22-10

SUBJECT:      FIREARMS


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               PHILADELPHIA POLICE DEPARTMENT                               DIRECTIVE 5.27



 Issued Date: 10-31-01           Effective Date: 10-31-01           Updated Date: 09-22-10

SUBJECT: FIREARMS
______________________________________________________________________________

1.   POLICY

     A. It is the responsibility of all members of the Philadelphia Police Department to ensure
        that all laws and regulations pertaining to the carrying of concealed firearms are
        properly enforced.

     B. All processing of applications for License to Carry Firearms in Philadelphia County is
        the responsibility of the Gun Permits and Tracking Unit of the Philadelphia Police
        Department. Applicants are no longer required to receive a medical examination, pass a
        proficiency test, or provide a valid reason why they would need such a license.
        However, the following requirements must be met:

         1. An applicant must be at least 21 years of age.
         2. An applicant must be a resident of the Commonwealth of Pennsylvania.
         3. Applicants must apply for a license to carry in the county in which they reside.
         4. Out-of-state resident applications will only be considered if the applicant currently
            has a similar license from his/her home state, if such a license exists in that state.
         5. An applicant's request for a license to carry will be rejected if he/she is found to be
            in violation of any of the provisions as set forth in the Pennsylvania Uniform
            Firearms Act and federal guidelines.

     C. The Gun Permits and Tracking Unit is responsible for conducting all investigations
        concerning the issuance of licenses to carry by residents of Philadelphia.

     D. All district Commanding Officers will maintain a current list of all registered firearms
        dealers located within their respective districts along with their normal hours of
        business. The Administrative Supervisor, Gun Permits and Tracking Unit will maintain
        a master list of all registered firearms dealers within Philadelphia.
______________________________________________________________________________

2.   DEFINITIONS

     A. "A license to carry a firearm shall be for the purpose of carrying a firearm concealed on
        or about one's person or in a vehicle throughout this Commonwealth" (PA Crimes Code
        §6109-a).


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              NOTE: A license to carry a firearm is sometimes referred to as a “license to carry”
                    or a “gun permit”.

*1            1. “Open Carry” refers to the act of openly and visibly carrying a firearm on one’s
                 person.

*1            2. “Open Carry State” refers to a state that allows people to openly and visibly carry a
                 firearm on one’s person without a special license or permit.

*1            3. “Concealed Carry Firearms License” refers to a specific license issued to an
                 individual authorizing the person to carry a firearm concealed on their person or in
                 a vehicle.

                  NOTE: In Philadelphia, if a person has a valid “Concealed Carry Firearms
                        License” they can legally carry a firearm either open and visible or
                        concealed.

              4. Under State law, a firearm is defined as:

                  a. Any pistol or revolver with a barrel less than 15 inches.
                  b. Any shotgun with a barrel less than 18 inches.
                  c. Any rifle with a barrel less than 16 inches.
                  d. Any pistol, revolver, rifle or shotgun with an overall length of less than 26
                     inches.
                  e. The barrel length of a firearm will be determined by measuring from the muzzle
                     of the barrel to the face of the closed action, bolt or cylinder, whichever is
                     applicable.

             5. Under federal law a firearm is defined as any weapon capable of expelling a
                projectile by the action of an explosive (i.e., any shotgun, rifle, handgun, or starter
                gun).
     ______________________________________________________________________________

     3.   APPLICATION PROCESS

          A. Citizens requesting information will be advised of the following procedures:

              1. Applications and instructions can be picked up by applicants at 990 Spring Garden
                 Street, 2nd Floor, Gun Permits and Tracking Unit. The hours are 8:30 a.m. to 2:00
                 p.m., Monday through Friday; or through the Police Department web site at,
                 ‘www.phillypolice.org’, and typing the word “permit” in the search block. The
                 applicant can then download the form onto their computer.




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         2. When returning the application, the applicant should arrive at 990 Spring Garden
            Street during the above times and have with them the following:

             a. Completed application typed or neatly printed.
             b. Three (3) passport-type photographs, 1" x 1".
             c. A money order for $25.00 made out to the "City of Philadelphia," no checks or
                cash will be accepted.
             d. Pennsylvania (PA) driver’s license or PA non-driver’s photo identification
                only.
             e. If the applicant is a resident alien, they must show their Resident Alien
                Identification (green card).
             f. A second form of identification (i.e., utility bill, voter’s registration, vehicle
                registration, auto responsibility policy, old permit if renewing license).

             NOTE: If the applicant was previously a member of the Armed Forces, a copy of
                   their form DD-214 must accompany the above.

         3. If all paperwork is in order, the applicant will then be interviewed as part of the
            investigation required by the Uniform Firearms Act. This investigation may include
            specific background checks to ensure that the applicant can be issued a license to
            carry (PA Crimes Code §6116).

         4. All applicants will receive written notice by U.S. Mail of either approval or
            disapproval of their application.

        5. All applicants should be aware that false statements (whether oral or written) will
           be cause for denial and may be cause for arrest.
______________________________________________________________________________

4.   SPECIFIC INFORMATION

     A. A license to carry issued in any county of Pennsylvania is valid throughout
        Pennsylvania.

     B. A license to carry is valid for five (5) years from date of issue.

     C. A license to carry issued in Philadelphia County will have a serial number printed in
        red located on the bottom right side of the permit.

         1. Beginning January 2001, plastic identification cards with a photo imprint will begin
            to be issued. Therefore, both forms of Permits to Carry will be acceptable.

     D. The issuing authority for a license to carry in Philadelphia County is the Police
        Commissioner.



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     E. The issuing authority for a gun license for other Pennsylvania counties is the Sheriff.

     F. All counties in Pennsylvania issue the same style of gun license. The licenses may vary
        in size, and some counties issue licenses with the photograph of the person on the face
        of the license.

     G. A license to carry may be folded in half and laminated in plastic for protection and ease
        of carrying as long as all pertinent information is still visible.

     H. When a license holder changes their residence, it does not necessitate a change of
        address on the gun license itself.

     I. A license holder may carry any firearm as long as the chosen firearm complies with
        state and federal guidelines. The firearm is not required to be owned by the license
        holder.

     J. A license holder is permitted to carry more than one (1) legal firearm at a time.
______________________________________________________________________________

5.   COMPUTER CHECKS

     A. A check of the validity of a license issued in Philadelphia County can be performed via
        Police Radio, the Mobile Data Computer or by accessing the district computer terminal
        using the entry: [REDACTED]

     B. Verification of licenses issued from other Pennsylvania counties can be performed via
        Police Radio or through the Detective Division computer terminals, using the entry of
        [REDACTED].

        1. Police should complete the above computer checks on ALL persons arrested
           regardless of whether or not a firearm was employed for that specific offense.
           Police would then follow the directions of this directive for notifying the Gun
           Permits and Tracking Unit when a person arrested is found to have a gun permit.

     C. Police should be immediately notified whenever a license to carry is lost or stolen. The
        officer taking the report will notify the Operations Room Supervisor, ensuring that the
        Gun Permits and Tracking Unit is alerted by computer message with all pertinent
        information immediately after the report is filed. A copy of the 75-48 will be forwarded
        by police mail or faxed to (215) 686-xxxx.

     D. Following notification of the theft or loss of a license to carry, the Gun Permits and
        Tracking Unit will ensure that the change in status is made in the computer database.




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     ______________________________________________________________________________

     6.   RESPONSIBILITIES ASSOCIATED WITH A LICENSE TO CARRY

          A. An individual licensed to carry a firearm shall upon lawful demand of a law
             enforcement officer, produce the license for inspection (PA Crimes Code §6122)

*1        B. The license holder will be permitted to carry their firearm either open and visible or
             concealed as long as they have a valid “Concealed Carry Firearms License”

          C. The license holder is subject to all prohibitions restricting the carrying of firearms into
             court facilities, restricted areas of the Philadelphia International Airport, and at certain
             commercial and private properties.

          D. Persons issued Lethal Weapons Training Act Certified Agent (Act 235) cards, unless
             also possessing a License to Carry, are permitted to carry a firearm only during the
             course of their employment and only while traveling directly to and from their
             residence to their place of employment. Act 235 cards will have a small "F" in the
             lower right- hand corner if the "Certified Agent" is permitted to carry a firearm in the
             course of their employment.

          E. Police Officers, upon retirement or separation from the Department, are required to
             obtain a license to carry if they wish to continue to carry a firearm.

              NOTE:   Active Philadelphia Police Officers are prohibited from possessing License
                      to Carry. The Commanding Officer, Recruit Division, will ensure that all
                      police recruits relinquish any License to Carry that may have been issued to
                      them prior to beginning their recruit training.
     ______________________________________________________________________________

     7.   PENALTIES

          A. Any person who carries a concealed firearm in any vehicle or on or about their person,
             except in their place of abode or fixed place of business, without a license to carry,
             commits a felony of the third degree.

          B. A person issued a License to Carry is not permitted to carry a firearm into a court
             facility. Only law enforcement officers, court officers, and persons granted permission
             by the court are permitted to possess a firearm in court facilities. A violation of the
             above by a license holder is a summary offense.

              EXCEPTIONS:          Police officers are not permitted to carry a firearm in U. S. District
                                   Court.




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          C. Whenever a violation calls for the revocation of a valid License to Carry as per the
             Uniform Firearms Act or federal guidelines, the assigned detective will be responsible
             for its confiscation if it is in the possession of the person in custody.

             1. When the permit is not in the person’s possession, the Gun Permit and Tracking
                Unit will become responsible for the confiscation of the permit.

          D. The assigned detective is responsible for notifying the Gun Permits and Tracking Unit
             of such a violation and whether or not the License to Carry has been confiscated via a
             computer-generated message.

          E. Whenever a License to Carry is confiscated by police, notification should be made on
             the Complaint or Incident Report (75-48) or Investigation Report (75-49). The license
             should be forwarded via police mail to the Gun Permits and Tracking Unit. The license
             should not be placed on a Property Receipt (75-3). Additionally, a copy of the 75-48
             and 75-49 should be forwarded to the Gun Permits and Tracking Unit.

          F. The Gun Permits and Tracking Unit, once notified, will initiate the steps to have the
             License to Carry revoked.

             1. The Police Commissioner, as the issuing authority, may revoke a permit to carry a
                firearm for “good cause” shown. “Good cause” may be for arrest and/or non-arrest
                incidents. Anytime a permit holder is arrested for a grade M1 (or higher) or a
                lower graded offense where issues of public safety are of concern, the Gun Permits
                and Tracking Unit should be notified.

                NOTE: Often, non-arrest situations, intoxications, active protection from abuse
                       orders, failure to prosecute, repeated presence with known drug dealers,
                       etc., involving public safety concerns can amount to “good cause”.
     ______________________________________________________________________________

     8.   TEMPORARY CUSTODY OF FIREARMS BY POLICE

          A. Police may temporarily take possession of a firearm being held by a license holder
             detained during the course of a pedestrian or vehicle investigation, if there are concerns
             for the officer's safety or questions regarding the validity of the License to Carry.

*1           NOTE: Officers are permitted to temporarily detain and investigate any individual
                   carrying a firearm exposed to determine if the person is operating within the
                   law.

*1           1. Immediately seize any firearm(s) for officer safety during the stop and unload the
                firearm(s) if possible, but only if it can be done safely.



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*1            2. The firearm should be promptly returned to the license holder when the
                 investigation reveals that the person under investigation possess a valid License to
                 Carry and they are not being charged with any offense, or there are no reasonable
                 grounds involving public safety requiring confiscation of the firearm(s). A
                 Property Receipt is not needed for these temporary confiscations. However, the
                 temporary custody should be noted on the Vehicle/Pedestrian Investigation Report
                 (75-48A)

*1            3. However, if the individual cannot produce a valid concealed carry license or the
                 license is not valid (i.e. expired or revoked), probable cause then exists to arrest the
                 individual for a VUFA Violation and transport the individual to the Divisional
                 Detectives for processing. The firearm and ammunition should be placed on a
                 Property Receipt (75-3), marked as “Evidence” and handled according to the
                 guidelines outlined in Directive 12.15, “Property Taken into Custody.” The 75-
                 48A for the initial stop must be prepared along with a Complaint or Incident Report
                 (75-48) for the arrest.

              4. A citizen requesting the return of a confiscated firearm will be directed to forward a
                 letter to the Police Commissioner requesting the return. The Gun Permits and
                 Tracking Unit will respond to requests by Certified Mail with the results of the
                 investigation.

           B. When a license holder is taken into custody for intoxication, their firearm should be
              confiscated and placed on a Property Receipt. The provisions set forth in Directive
              12.15, "Property Taken into Police Custody," will be adhered to.

              1. The actual "License to Carry" should be taken and forwarded to the Gun Permits
                 and Tracking Unit (In this instance you would NOT place the permit on a property
                 receipt.).

              2. A copy of the 75-48 (Intoxication) noting the confiscation of the firearm should be
                 forwarded to the Gun Permits and Tracking Unit via police mail.

             3. The Gun Permits and Tracking Unit will be responsible for compiling this
                information and to initiate the revocation process when circumstances warrant.
     ______________________________________________________________________________

     IX.   ILLUSTRATION OF LICENSE TO CARRY



                           REDACTED - LAW ENFORCEMENT SENSITIVE




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______________________________________________________________________________
REALTED PROCEDURES         Directive 12.11, Complaint or Incident Report (75-48)
                           Directive 12.15, Property Taken into Custody
______________________________________________________________________________

                BY COMMAND OF THE POLICE COMMISSIONER
______________________________________________________________________________

FOOTNOTE             GENERAL#              DATE SENT            REMARKS

    *1                  1272               09-22-10             ADDITIONS




                                                                DIRECTIVE 5.27 - 8
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               PHILADELPHIA POLICE DEPARTMENT                            DIRECTIVE 5.27

                                        APPENDIX “A”

 Issued Date: 10-31-01           Effective Date: 10-31-01            Updated Date: 09-22-10

SUBJECT: FIREARMS ANALYSIS SYSTEM (F. A. S.)
______________________________________________________________________________

1.   POLICY

     A. The Firearms Analysis System (FAS) is a computer Geographic Information System
        (GIS) application. This program is designed to provide for the following functions:

         1.   Analysis of reported stolen/lost/missing firearms.
         2.   Analysis of recovered firearms by police.
         3.   Provide firearms tracing data to investigators.
         4.   Provide for production of maps, charts, and reports.

     B. All firearms reported stolen, missing, lost firearms, and/or firearms recovered by the
        Philadelphia Police Department regardless of reason for confiscation, will be entered
        into the FAS Program (Refer to Computer Training Bulletin 2001-02, entitled, “F.A.S.
        User Instructions”).
______________________________________________________________________________

2.   PROCEDURES

     A. Firearms reported stolen/lost/missing

         1. The responding officer will:

              a. Question the complainant and all witnesses to the incident.

              b. Inspect the scene to corroborate information contained in the report.

              c. Prepare a Complaint or Incident Report (75-48), to include all available
                 information on the firearm(s) and the circumstances surrounding its
                 disappearance.

              d. Transport all available paperwork, witnesses, and complainants to the pertinent
                 investigating unit.




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   2. The assigned investigator will:

       a. Check the submitted 75-48 for completeness, paying particular attention to the
          subject firearm’s make, model, serial number, and importer number.

       b. Ensure the 75-48 is coded by the Operations Room Supervisor (ORS).

       c. Interview complainant and any witnesses as to the circumstances of the
          disappearance of the firearm.

       d. Ensure a complete police system computer inquiries (QROS) are made to
          obtain complete information, if any information is missing.

       e. Ensure every reported stolen, lost, or missing firearm into the FAS Program,
          regardless of whether or not all required information is available.

B. Police Officers confiscating or recovering firearms will:

   1. Prepare a 75-48 describing the recovered firearm and the circumstances
      surrounding the recovery.

   2. Ensure the 75-48 is coded by the ORS.

   3. Prepare a Property Receipt (75-3) for the recovered firearm, in accordance with
      Directive 12.15, entitled, “Property Taken into Custody”, and transport the firearm
      and any witnesses to the pertinent investigative unit.

   4. Transport the firearm(s), property receipt, and a copy of the FAS entry, prepared by
      the assigned investigator to the Firearms Identification Unit, 843 North 8th Street.

           NOTE: No firearm will be accepted by either the Firearms Identification Unit
                 (FIU) or the Chemical Laboratory without a copy of the FAS entry.

C. The assigned investigator will:

   1. Enter all firearms (long guns and handguns) into the FAS Program, to include
      those with obliterated serial numbers.

       NOTE: An officer’s City or personally-owned firearm recovered by police, which
             has been used during the performance of their duties will not be entered
             into the FAS (there is no need to conduct an automatic trace request on
             these firearms).

       a. No firearms received as a result of a sanctioned Departmental Moratorium will
          be entered into FAS.

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         2. Ensure an automatic firearms trace request is generated through the Philadelphia
            Office of the Bureau of Alcohol, Tobacco and Firearms (ATF) and is sent to the
            National Tracing Center, Falling Waters, West Virginia.

             a.. Any investigator requesting an urgent trace to be conducted by the National
                 Tracing Center must notify the local ATF office or the Firearms Trafficking
                 Task Force (215) xxx-xxx/xxxx.

             b. Urgent traces are generally reserved for high profile, sensitive, or homicide
                cases requiring immediate results.

     D. Firearms Identification Unit (FIU)/OFS Laboratory Personnel will:

         1. Receive the firearm(s) and all required paperwork, including a copy of the FAS
            entry.

             NOTE: Officers not possessing the proper paperwork will be directed back to the
                   appropriate investigative unit.

         2. Verify that the firearm(s) received match the paperwork attached.

         3. Access the FAS Program and make any required modification and transmit the
            entry to the ATF.

        4. Firearms Identification Unit personnel, after completing the formal examination of
           the submitted firearm(s), will enter the appropriate data into the original FAS entry.
______________________________________________________________________________

                BY COMMAND OF THE POLICE COMMISSIONER
______________________________________________________________________________




                                                                           DIRECTIVE 5.27 - 3
                                                                                Appendix ‘A’
